Case: 1:16-cv-08637 Document #: 3968-10 Filed: 10/30/20 Page 1 of 1 PageID #:267041




                      IN THE UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF ILLINOIS




IN RE BROILER CHICKEN ANTITRUST                   No. 1:16-cv-08637 TMD-JTG
LITIGATION
                                                  Hon. Thomas M. Durkin
                                                  Mag. Judge Jeffrey T. Gilbert

This Document Relates To:

Commercial and Institutional Indirect Purchaser
Plaintiff Actions




                                    EXPERT REPORT
                                             of
                              Russell W. Mangum III, Ph.D.
                               Regarding Class Certification


                                      UNDER SEAL
